                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
      v.                                          )          NO. 3:19-CR-00194
                                                  )
                                                  )          CHIEF JUDGE CRENSHAW
STEVEN J. WIGGINS                                 )

   UNOPPOSED MOTION TO RETURN THE DEFENDANT TO STATE CUSTODY

       COMES NOW the United States of America, by and through Donald Q. Cochran, United

States Attorney, and the undersigned Assistant United States Attorney, Robert E. McGuire, and

moves this court to return the Defendant to state custody. Undersigned counsel has conferred

with the defense who have stated that they have no objection to the Defendant’s return to state

custody.

       For cause, the United States would submit – as referred to in prior filings (Doc. No. 33) –

the Defendant has state court appearances in his state case during the week of December 16,

2019. The United States submits that if the court grants the order the United States will

expeditiously file a Writ of Habeas Corpus Ad Prosequendum to bring the Defendant back to

federal custody for the purpose of the previously ordered December 23 status conference before

this court. (Doc. No. 31.) Undersigned counsel has conferred with the United States Marshal

Service and is confident that the Defendant can be delivered before this court for the status

conference even if he is returned to state custody.

                                                      Respectfully submitted,

                                                      DONALD Q. COCHRAN
                                                      United States Attorney




     Case 3:19-cr-00194 Document 35 Filed 12/06/19 Page 1 of 2 PageID #: 70
                                                By:         s/ Robert McGuire
                                                        ROBERT McGUIRE
                                                        Assistant U. S. Attorney
                                                        110 9th Avenue South - Suite A-961
                                                        Nashville, Tennessee 37203-3870
                                                        Telephone: 615-736-5151

                                  CERTIFICATE OF SERVICE
        I certify that a true and correct copy of the foregoing will be served electronically to counsel
for defendant, via the Court’s Electronic Case Filing System, on December 6, 2019.


                                                            s/ Robert McGuire
                                                        ROBERT McGUIRE
                                                        Assistant United States Attorney




     Case 3:19-cr-00194 Document 35 Filed 12/06/19 Page 2 of 2 PageID #: 71
